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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

                                   6
                                        RICK JAMES, by and through THE JAMES
                                   7    AMBROSE JOHNSON, JR., 1999 TRUST,                   Case No. 11-cv-01613-SI
                                        his successor in interest, et al., individually
                                   8    and on behalf of all others similarly situated,
                                                                                            ORDER AMENDING ORDER
                                   9                   Plaintiffs,                          GRANTING PLAINTIFFS' MOTION
                                                                                            FOR ATTORNEYS' FEES,
                                  10            v.                                          LITIGATION COSTS AND INCENTIVE
                                                                                            AWARDS
                                  11    UMG RECORDINGS, INC., et al.,
                                                                                            Re: Dkt. No. 267
                                  12                   Defendants.
Northern District of California
 United States District Court




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                                              The Court's April 13, 2016 Order Granting Plaintiffs' Motion for Attorneys' Fees,
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                                       Litigation Costs and Incentive Awards inadvertently omitted mention of an incentive award for
                                  16
                                       plaintiff Arthur Paul Tavares. This order amends the April 13, 2016 order as follows: the Court
                                  17
                                       approves a $5,000 incentive award to Arthur Paul Tavares.
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                                              IT IS SO ORDERED.
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                                       Dated: April 15, 2016
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                                                                                          ______________________________________
                                  23                                                      SUSAN ILLSTON
                                                                                          United States District Judge
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